                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

RICK SEARCY,                                       )
                                                   )
                         Plaintiff,                )
                                                   )
                 v.                                )   Case No. 4:21-cv-00530-DGK
                                                   )
CENTRAL INTELLIGENCE                               )
AGENCY, et al.,                                    )
                                                   )
                         Defendants.               )

                  ORDER RESTRICTING PLAINTIFF’S ABILITY TO FILE

          Pro se Plaintiff Rick Searcy alleges that various federal agencies, the United States Army,

various religious institutions, and multiple Missouri state court judges and prosecutors, are

involved in—among other things—an international pedophile, drug-distribution, kidnapping, and

murder ring, and that Defendants have attempted to control Plaintiff’s mind through “synthetic

telepathy.” Am. Compl., ECF No. 44. Many of Plaintiff’s numerous filings—which he has filed

in person via the clerk’s office—have included pornographic images. Further, Plaintiff has grown

increasingly more demanding with court staff, and has voiced his displeasure with court staff in

various filings. See Mot. for Recusal, ECF No. 75. Finally, Plaintiff has informed the Court that

he intends to file a “second round” of civil rights lawsuits against various defendants. Mot., ECF

No. 68.

          The Court previously ordered Plaintiff to show cause as to why his ability to file should

not be restricted. Show Cause Order, ECF No. 78. Plaintiff apparently then sought mandamus

relief from the Eighth Circuit, requesting the Eighth Circuit order this Court to withdraw its Show

Cause Order. Plaintiff filed his petition for writ of mandamus in this Court as his response to the

Show Cause Order. ECF No. 84. Needless to say, Plaintiff’s petition is not responsive to the




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Show Cause Order.        Further—because Plaintiff’s response contains more pornography—it

confirms the Court’s rationale for placing Plaintiff on restricted filing status.

        Accordingly, the following restriction is now placed on Plaintiff’s ability to file:

        Plaintiff is required to obtain leave of Court before making any filings in this case or filing

any new lawsuits in this district. This means that the Court will review any submissions Plaintiff

makes to the clerk’s office and will then determine whether the submission will be placed on the

docket. Harassing, frivolous, or obscene filings will not be placed on the docket. In addition, any

filings containing pornography will not be placed on the docket.

        Should Plaintiff make additional attempts to file pornography, the Court will further restrict

his ability to file.

        IT IS SO ORDERED.

Date: April 26, 2022                                /s/ Greg Kays______________________
                                                   GREG KAYS, JUDGE
                                                   UNITED STATES DISTRICT COURT




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